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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                   Case No. 1:14-cv-21559-UU
  COLIN BOWE, et al.,

         Plaintiff

  v.

  PUBLIC STORAGE,

         Defendant.
  _________________________________________/

                ORDER ON MOTION TO PROCEED IN FORMA PAUPERIS

         THIS CAUSE came before the Court upon Non-Party Arthur Putnam’s pro se Motion to

  proceed In Forma Pauperis (the “Motion”). D.E. 434.

         THE COURT has reviewed the Motion, and is otherwise fully advised in the premises.

  On February 24, 2016, Mr. Putnam filed an untimely objection to the class action settlement

  agreement. D.E. 399. The Court considered Mr. Putnam’s objection at the February 29, 2016

  final settlement approval hearing and determined that (1) Mr. Putnam’s objection was untimely;

  (2) Mr. Putnam was not a member of the class at issue in this case because he did not purchase

  insurance from Public Storage; and (3) this case addressed issues entirely unrelated to Mr.

  Putnam’s issues with Public Storage. On March 3, 2016, Putnam moved to stay enforcement of

  the Settlement Agreement, D.E. 403, which the Court Denied, D.E. 405. On March 10, 2016 the

  Court closed the case after granting final approval of the class action settlement. D.E. 408. On

  April 13, 2016, Putnam again moved to set aside the Court’s Order approving the Settlement

  Agreement, D.E. 409, which the Court also denied, D.E. 410. Putnam filed various other motions

  on June 24, 2016, which the Court denied as incoherent and frivolous. D.E. 412-415.




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          Putnam filed a notice of appeal as to the Court’s denying of two of his post-judgment

  motions, D.E. 417, which the Eleventh Circuit denied as both untimely and irrelevant as Putnam

  was not a member of the class. D.E. 433. In the instant Motion, Putnam moves to proceed in

  forma pauperis. D.E. 434. The case is closed, the Court has denied Putnam’s post-trial motions,

  and the Eleventh Circuit Court of Appeals has denied Putnam’s appeal. Accordingly, it is

          ORDERED AND ADJUDGED that Plaintiffs’ Motion for Leave to Proceed in Forma

  Pauperis, D.E. 434, is DENIED. It is further

          DONE AND ORDERED in Chambers at Miami, Florida, this _20th__ day of April,

  2018.

                                                     _______________________________
                                                     URSULA UNGARO
                                                     UNITED STATES DISTRICT JUDGE



  cc: Counsel of Record
  Arthur Putnam pro se non-party




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